     Case: 1:18-cr-00681 Document #: 53 Filed: 06/01/20 Page 1 of 8 PageID #:177




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


UNITED STATES OF AMERICA

        v.
                                                              CASE NO.: 18 CR 681
MICHAEL ABRAMSON,
                                                              Hon. Virginia M. Kendall
                Defendant

              DEFENDANT MICHAEL ABRAMSON’S MOTION IN LIMINE
             TO PRECLUDE EVIDENCE RELATED TO EASTERN ADVISORS’
                   LATE FILING OF CORPORATE TAX RETURNS

        Defendant Michael Abramson respectfully moves this Court to issue a pretrial ruling

excluding evidence and arguments related to Eastern Advisors’ failure to timely file corporate tax

returns, pursuant to Federal Rules of Evidence 402, 403, and 404(b). 1

        1.      The government has charged Mr. Abramson with making false statements in

corporate tax returns that were filed for his company Leasing Employment Services (“LES”), in

violation of Title 26, United States Code, Section 7206(1). The charges relate to amended returns

for the tax periods 2006-2012, and original returns for the tax period 2013-2014. Mr. Abramson’s

accountants amended LES’ 2006-2012 tax returns in 2014 to include the earnings of Eastern

Advisors, a subsidiary of LES. The later LES returns, filed in 2014 and 2015, also reflect the

inclusion of Eastern Advisors’ income. The statements in the returns that the indictment alleges

are false relate to how payments to a real estate broker employed by Eastern Advisors were




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 Mr. Abramson’s jury trial is currently scheduled to begin on September 8, 2020. Mr. Abramson hopes to
keep this trial date, and therefore, government counsel and defense counsel agreed to keep the pre-pandemic
schedule for filing motions in limine but also further agreed to extend response dates by two weeks, to June
29, 2020, and not to object if either party desires to file additional motions in the coming weeks.
                                                     1
     Case: 1:18-cr-00681 Document #: 53 Filed: 06/01/20 Page 2 of 8 PageID #:178




classified, specifically whether certain payments to her were properly classified as loans and

commissions. 2

       2.        Despite the fact that the government only charged Mr. Abramson with making false

statements in tax returns, the government attempts to slip in another accusation of criminal conduct

through one purported background paragraph of the indictment, namely that Mr. Abramson failed

to file tax returns on behalf of his company, Eastern Advisors, for eleven years. See Indictment at

¶ 1(q) (alleging that between 2002 and 2013, “Eastern Advisors was required to and did not file”

corporate tax returns). The government presumably intends to argue at trial that Mr. Abramson

was evading the payment of taxes on Eastern Advisors’ earnings for 11 years and only filed tax

returns for the company once he learned that he was under criminal investigation by the IRS. See

id. at ¶ 1(r) (alleging that in 2013, “Individual C” advised Mr. Abramson that the IRS was

requesting information related to Abramson and Eastern Advisors). Mr. Abramson was not

charged with failing to timely file corporate tax returns, in violation of Title 26, United States

Code, Section 7203 (“Section 7203”), and thus, any such reference to this alleged misconduct

should be excluded. Merely including the uncharged conduct in the background section of the

indictment does not make otherwise inadmissible evidence admissible. In fact, Federal Rule of

Criminal Procedure 7(d) permits a court to strike irrelevant and prejudicial allegations from an

indictment. See United States v. Andrews, 749 F. Supp. 1517, 1518 (N.D. Ill. 1990) (noting that

“it is within a court’s discretion to strike, as surplusage, immaterial or irrelevant

allegations…which may, however, be prejudicial”) (internal quotations and citations omitted);

United States v. Brighton Bldg. & Maint. Co., 435 F. Supp. 222, 230-31 (N.D. Ill. 1977) (striking

allegations from an indictment that might cause the jurors to “draw the inference that the defendant


2
  Mr. Abramson incorporates by reference the factual background set forth in his motion to exclude the
testimony of Michael Welch, which was filed contemporaneously with this motion.
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    Case: 1:18-cr-00681 Document #: 53 Filed: 06/01/20 Page 3 of 8 PageID #:179




is accused of crimes not charged in the indictment”). There is no admissible basis for introducing

evidence that Mr. Abramson failed to file tax returns for Eastern Advisors for 11 years even though

he “was required to.” See Indictment at ¶ 1(q).

       3.      First, Eastern Advisors’ failure to timely file tax returns is irrelevant to the elements

of proof the government must establish to convict Mr. Abramson of willfully making false

statements in tax returns. See Fed. R. Evid. 401 (evidence is only relevant if it helps to prove or

disprove a fact that “is of consequence in determining the action”). See also United States v.

Powell, 576 F.3d 482, 495 (7th Cir. 2009) (setting forth the elements of a Section 7206(1) charge).

        4.     The sole purpose of introducing evidence of uncharged violations of Section 7203

would be to suggest to the jury that Mr. Abramson had a propensity to commit tax crimes, namely,

that because Eastern Advisors failed to timely file corporate tax returns for 11 years, it is more

likely that Mr. Abramson intentionally made false statements in tax returns. Rule 404(b) precludes

introducing evidence for this propensity purpose. See Fed. R. Evid. 404(b)(1) (“Evidence of a

crime, wrong, or other act is not admissible to prove a person’s character in order to show that on

a particular occasion the person acted in accordance with the character.”). Although there are

certain limited exceptions allowing the admission of other wrongful acts under Rule 404(b)(2),

none of those exceptions is applicable here.

       5.      In determining whether evidence is properly admitted under Rule 404(b), courts

consider “how exactly the evidence is relevant to [a non-propensity] purpose—or more

specifically, how the evidence is relevant without relying on a propensity inference.” United States

v. Gomez, 763 F.3d 845, 856 (7th Cir. 2014) (emphasis in original). If a non-propensity purpose

is offered by the proponent of the evidence, courts also consider whether the uncharged conduct is

similar to the charged conduct, but the importance of similarity will depend on the non-propensity



                                                  3
     Case: 1:18-cr-00681 Document #: 53 Filed: 06/01/20 Page 4 of 8 PageID #:180




purpose that is offered. Id. at 855. Additionally, there must be sufficient evidence “for the jury to

find by a preponderance of the evidence that the other act was committed.” Id. at 854 (emphasis

in original).

        6.      The government cannot establish that the uncharged acts of failing to timely file

corporate tax returns are relevant for any purpose other than attempting to show Mr. Abramson’s

propensity to commit tax crimes. The government apparently agrees that the evidence is not

admissible based on any Rule 404(b)(2) exception because, on April 30, 2020, government counsel

informed defense counsel that he did not expect to introduce any evidence pursuant to Rule 404(b).

        7.      The government also cannot establish any similarity between the charged and

uncharged conduct. The uncharged conduct is failing to timely file Eastern Advisors’ tax returns

between 2002 and 2013. The charged conduct is making false statements in Eastern Advisors’ tax

returns about the nature of the payments made to a particular employee of Eastern Advisors, Jerilyn

Totani. The defense to the charged conduct will focus on establishing that there were no false

statements in the tax returns. Mr. Abramson’s failure to file tax returns for Eastern Advisors for

11 years sheds no light on that issue, and therefore, must be excluded. See United States v. Stein,

521 F. Supp. 2d 266, 270, 274-75 (S.D.N.Y. 2007) (in a case charging tax evasion based on certain

fraudulent tax shelters, the court denied government’s request to admit: (1) evidence of uncharged

tax shelters; and (2) defendant’s past failure to timely report income to the IRS, because the

government failed to show how the uncharged conduct was similar to the charged conduct).

        8.      Additionally, there is no credible evidence that Mr. Abramson intentionally failed

to file tax returns for Eastern Advisors between 2002 and 2013 or that he only did so in 2014 once

he learned about the IRS’ criminal investigation. Rather, the evidence demonstrates that Mr.

Abramson believed that his accountants consolidated Eastern Advisors’ tax returns with the tax



                                                 4
     Case: 1:18-cr-00681 Document #: 53 Filed: 06/01/20 Page 5 of 8 PageID #:181




returns of LES during the relevant time period. As soon as Mr. Abramson learned in 2014 that

Eastern Advisors’ tax returns mistakenly had not been consolidated with LES’ returns, he

immediately directed his accountants to file amended corporate tax returns for LES. Furthermore,

there is irrefutable evidence that the filing of the amended returns was not linked to Mr. Abramson

finding out about the IRS investigation. The timeline of events, statements by the government’s

own witness, “Individual C,” during his grand jury testimony, 3 and documents produced by the

government all demonstrate that the earliest Mr. Abramson could have learned about the criminal

investigation was late 2015—well after he filed the amended income tax returns at issue.

        9.      Even if there were some marginal relevance to the failure to file conduct, it should

still be excluded because it is unfairly prejudicial and will confuse the issues at trial. See Fed. R.

Evid. 403 (relevant evidence may be excluded if its probative value is substantially outweighed by

a danger of unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time,

or needlessly presenting cumulative evidence). With respect to unfair prejudice, this is a case in

which the government’s evidence of actual false statements in Mr. Abramson’s tax returns is

extremely convoluted and far from overwhelming. Nevertheless, that is what the government

chose to charge, and it should be held to its burden on the charges. If the government is allowed

to make the much simpler argument to the jury that Mr. Abramson avoided filing tax returns for

Eastern Advisors for 11 years and only did so once he learned that the IRS was conducting a


3
 The government, on the other hand, relies solely on a vague statement in the case agent’s earlier report of
interview of Individual C, during which Individual C allegedly stated that he told Mr. Abramson in 2013
that the Mexican tax agency Hacienda was requesting documents from Eastern Advisors at the request of
the IRS. This was clearly based on the agent’s own misinterpretation of what the witness actually said.
The witness merely told Mr. Abramson that Hacienda was seeking documents (believed to be part of a
routine audit) and that Hacienda was the equivalent to the United States’ IRS. Furthermore, Individual C
was never provided with any information in 2013 to suggest that Hacienda was making the request based
on a directive from the IRS. Indeed, the agent’s misinterpretation is not carried into Individual C’s later
grand jury testimony, during which Individual C merely testified that he informed Mr. Abramson about the
document inquiry from Mexican tax authorities.
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     Case: 1:18-cr-00681 Document #: 53 Filed: 06/01/20 Page 6 of 8 PageID #:182




criminal investigation, the focus of the trial will shift in large part to the uncharged conduct. This

will create an unacceptable risk that the jury convicts Mr. Abramson based on improper propensity

evidence—i.e., that he must have intentionally made false statements in his tax returns about the

nature of Eastern Advisors’ payments to Totani because he did not file Eastern Advisors’ tax

returns for 11 years. Furthermore, if the government were allowed to try an uncharged failure to

timely file tax returns case, it would create a second trial within a trial, confuse the jury, and add

substantially to the length of the trial. Mr. Abramson would be required to call witnesses and

introduce documents to rebut the government’s contentions that: (1) he learned about the IRS

criminal investigation in 2013; (2) he filed amended tax returns in August 2014 in response to

learning about a criminal investigation a year earlier; and (3) he intentionally failed to file tax

returns for Eastern Advisors between 2002 and 2013. Accordingly, even if the evidence of

uncharged conduct had some marginal relevance other than to prove Mr. Abramson’s propensity

to commit tax crimes, it still should be excluded due to the high likelihood of unfair prejudice and

jury confusion. See Stein, 521 F. Supp. 2d at 270, 274-75 (finding that even if uncharged tax

conduct were admissible under Rule 404(b), the evidence still should be excluded pursuant to Rule

403 because the probative value was substantially outweighed by its risk of prejudice).

       10.     For the reasons set forth above, Mr. Abramson respectfully requests that this Court

exclude all evidence related to Eastern Advisors’ failure to timely file tax returns and the

government’s alleged reasons for the timing of Eastern Advisors’ tax filings.




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    Case: 1:18-cr-00681 Document #: 53 Filed: 06/01/20 Page 7 of 8 PageID #:183




Dated: June 1, 2020                      Respectfully submitted,

                                         /s/ Valarie Hays
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                                        7
    Case: 1:18-cr-00681 Document #: 53 Filed: 06/01/20 Page 8 of 8 PageID #:184




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2020, I caused the foregoing document to be electronically

filed using the CM/ECF system, which will send notice of this filing to all counsel of record.



                                                     /s/ Valarie Hays
                                                     Valarie Hays
